Case 2:11-cr-20129-SFC-EAS ECF No. 1661, PageID.25966 Filed 01/21/16 Page 1 of 2




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN


 United States of America,

              Plaintiff,
                                               Case No. 11-20129
 v.
                                               Hon. Robert H. Cleland
 Michael Kenneth Rich,

              Defendant.


                  ORDER RELEASING HEALTH RECORDS


       On January 6, 2016, the court held a conference with counsel and the court’s

 probation officer. Defense counsel notified the court that the Pretrial Services

 Officer was in possession of numerous medical records relating to Defendant, and

 that such records are needed for evaluation and review. Therefore, consistent with

 the approval of both parties,

          IT IS HEREBY ORDERED the Pretrial Services Officer shall release to

 the court the records received from the Birmingham Veteran’s Administration

 Medical Center (VMAC) at the Anniston Clinics - Primary Outpatient; Mental

 Health Notes dated: 8/22/2012, 8/3/2012, 7/27/2012, 7/18/2012 (pages 72-103);

 and any other medical documents received from the Pretrial Services Officer in

 Alabama.
Case 2:11-cr-20129-SFC-EAS ECF No. 1661, PageID.25967 Filed 01/21/16 Page 2 of 2




       IT IS FURTHER ORDERED that Clerk shall file the originals under seal

 and distribute legible copies to counsel for the Defendnt, counsel for the

 government, and to the assigned Probation Officer.


                                        s/Robert H. Cleland
                                        Hon. Robert H. Cleland
                                        United States District Judge

 Entered: January 21, 2016
